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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

YIFAN SHEN, an individual,
ZHIMING XU, an individual, XINXI
WANG, an individual, YONGXIN
LIU, an individual, and MULTI-
CHOICE REALTY LLC, a limited
liability corporation,

            Plaintiffs,

v.
                                         Case No. 4:23-cv-00208-AW-MAF
WILTON SIMPSON, in his official
capacity as Commissioner of
Agriculture for the Florida Department
of Agriculture and Consumer Affairs,
MEREDITH IVEY, in her official
capacity as Acting Secretary of the
Florida Department of Economic
Opportunity, PATRICIA
FITZGERALD, in her official capacity
as Chair of the Florida Real Estate
Commission,

             Defendants.
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               MOTION FOR LEAVE TO APPEAR PRO HAC VICE

      Pursuant to Local Rule 11.1 of the United States District Court for the

Northern District of Florida, Cody Wofsy respectfully moves this Court for leave to

appear pro hac vice on behalf of YIFAN SHEN, ZHIMING XU, XINXI WANG,

YONGXIN LIU, and MULTI-CHOICE REALTY LLC, a limited liability

corporation (“Plaintiffs”), and states as follows:

      1.       Plaintiffs have retained the American Civil Liberties Union Foundation

(“ACLU”) to represent them in this matter, along with cocounsel. I am an attorney

with the ACLU.

      2.       I am not a resident of the State of Florida, and I am not admitted to

practice in the Northern District of Florida.

      3.       I regularly practice law at the ACLU’s office in California.

      4.       I am licensed to practice law in the State of California and an active

member in good standing of the California Bar (Registration No. 294179). A current

Certificate of Good Standing is attached.

      5.       I have successfully completed the online Local Rules tutorial exam.

My confirmation number is FLND1685650063615.

      6.       I have reviewed the CM/ECF Attorney User’s Guide.

      7.       I have paid the required pro hac vice fee concurrent with the filing of

this motion.
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      WHEREFORE, Cody Wofsy respectfully moves this Court for leave to

appear pro hac vice on behalf of Plaintiffs.



Dated: June 3, 2023                /s/ Cody Wofsy
                                   Cody Wofsy
                                   39 Drumm Street
                                   San Francisco, CA 94111
                                   (415) 343-0785
                                   cwofsy@aclu.org

                                   Counsel for Plaintiffs
